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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION


JERRY HOFROCK,                                 §
     Plaintiff,                                §
                                               §
v.                                             §    Civil Action No. 1:22-cv-00900-RP
                                               §
FREEDOM MORTGAGE                               §
CORPORATION,                                   §
    Defendant.                                 §

             PLAINTIFF’S NOTICE OF DISMISSAL WITHOUT PREJUDICE

        COMES NOW Plaintiff, Jerry Hofrock, and files his Notice of Dismissal without

Prejudice, and would respectfully show the Court as follows:

1.    This matter came before the Court as a result of Defendant Freedom Mortgage

Corporation’s removal of the case from the Williamson County District Court where it was

originally filed.

2.    Defendant Freedom Mortgage did not file an answer to Plaintiff’s Original Petition in

Williamson County District Court and has not yet filed an answer in this Court.

3.    Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Jerry Hofrock hereby

dismisses without prejudice his claims against Defendant Freedom Mortgage Corporation.


                                             Respectfully submitted,

                                             GAMMON LAW OFFICE, PLLC
                                             /s/ William B. Gammon
                                             _____________________________
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                                CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing instrument was served upon
all parties of record listed below on this 2nd day of December, 2022.

                                                     /s/ William B. Gammon
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